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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )     Cr. No. 2:00cr126-ID
                                              )
GONZALO MURILLO                               )


                                      ORDER

      Upon CONSIDERATION of Defendant Gonzalo Murillo’s motion for default

judgment, filed May 31, 2006, it is ORDERED that said motion be and the same is

hereby DENIED as moot, as the record does not contain a Rule 60(b)(6) motion as

referenced by Defendant in said motion.

      DONE this 5 th day of July, 2006.

                                 /s/ Ira DeMent
                                 SENIOR UNITED STATES DISTRICT JUDGE
